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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

IN THE MATTER OF:                            )
                                             )
AUBURN FOUNDRY, INC.,                        )              Chapter 11
                                             )
               Debtor.                       )              BK Case No. 04-10427

  INTERIM APPLICATION FOR ALLOWANCE AND PAYMENT OF ATTORNEYS’
    FEES OF BAKER & DANIELS, COUNSEL FOR DEBTOR AUBURN FOUNDRY

               The application of Baker & Daniels (“B&D”) by John R Burns, counsel for

Auburn Foundry, Inc., Debtor, for allowance and payment of professional fees and

reimbursement of expenses respectfully represents:

               Applicant makes this Interim Application for Allowance and Payment of

Attorneys Fees (hereinafter “Application”) pursuant to §§ 327, 330 and 331 of the Bankruptcy

Code and Rule 2016 of the Federal Rules of Bankruptcy Procedures, for professional services

rendered and for reimbursement of expenses reasonably and necessarily incurred by Applicant

firm in the representation of the Debtor.

               A voluntary petition for relief under Chapter 11 of the Bankruptcy Code was filed

on February 8, 2004 (the “Petition Date”) by Auburn Foundry (the “Debtor”). An Application to

Employ and Retain Baker & Daniels as Counsel for Debtor-In-Possession and Approving

Security Retainer was filed on February 9, 2004, which application was granted by this Court by

an Order authorizing the employment of B&D dated March 17, 2004. A copy of this Order is

attached as Exhibit “A.”

               Debtor filed an Application to Approve Monthly Provisional Payments to Counsel

on February 20, 2004, which application was granted on April 22, 2004. By terms of that

application, B&D is authorized to file as early as the 10th day of each month an Itemized
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Statement (“Statement”) of attorneys’ fees and expenses incurred during the prior calendar

month. Debtor is authorized to pay B&D 80 percent of the fees and 100 percent of the expenses

incurred on its behalf, except as to such amounts that may have been specifically objected to

within 10 days of the filing of the statement. A copy of the Application and Order is attached as

Exhibit B.

                   This Application requests allowance of compensation for actual, necessary

professional services within the meaning of §330 of the Code, for the periods encompassed by

the Itemized Statements filed herein through and including November 30, 2004. During this

period, Applicant firm expended a total of 2,411.0 hours of professional services on behalf of

Debtor. This time was expended by attorneys and paralegals as set forth in the statement

attached as Exhibit C, which is attached hereto, is incorporated by reference, and is made a part

hereof. The rates of compensation vary by the attorney or paraprofessional providing the

service, which information is set out in greater detail on the Counsel List attached hereto as

Exhibit D. Project summaries and categories have been used to categorize the services provided

by B&D.

                   The services rendered by B&D are itemized and categorized for ease of review in

general, the services include preparation for filing, preparing and analyzing financial information,

counseling the Debtor concerning the bankruptcy process and its obligations, review of loan

documents, leases and contracts, negotiation with lenders, venders and customers, preparation

for and attendance at several hearings and conferences, representation of the Debtor in

negotiations and later litigation to obtain necessary cash use orders, and consideration of

business operation issues, development and drafting of the Disclosure Statement and Plan, and

negotiations with counsel for the Creditors' Committee, Senior Lenders and other entities.



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                   Itemized Statements have been filed on September 8, 2004, October 13, 2004,

October 25, 2004, November 24, 2004, December 28, 2004, January 17, 2005, February 18,

2005 and March 11, 2005. No objections to any specific amounts have been entered thereto.

The Debtor ha s paid B&D a total of $479,046.80 in post-petition fees and $62,824.24 in actual,

necessary post-petition expenses within the meaning of § 330 of the Code. The remaining 20

percent of fees totals $119,761.70. The Debtor's Senior Lenders have agreed to a "carve-out"

from their collateral of an amount sufficient to pay such fees upon entry of an order approving

such fees. Consequently, payment will not diminish the amount of any funds available to the

Debtor that are not subject to a lien in favor of the Senior Lenders.

                   No compensation previously received by B&D has been shared between the

Applicant and any other entity, and no agreement or understanding exists with respect thereto

within the meaning of Rule 2016 of the Federal Rules of Bankruptcy Procedure, for

compensation received or to be received for services rendered in or in connection with the case.

                   WHEREFORE, B&D prays that this Court approve its attorneys’ fees in the

amount of $479,046.80, which represents the full amount of attorneys’ fees since the Petition

Date, plus expenses in the amount of $62,824.24 for services rendered through February 28,

2005, and authorize payment of the unpaid balance of $119,761.70 in fees which has not been

heretofore paid pursuant to the Court’s prior order authorizing provisional payment of fees.




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                                       BAKER & DANIELS


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                                       ATTORNEYS FOR THE DEBTOR,
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